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                                                                           FILED
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                                                                           JUN 1 0 2022
       Acting United States Attorney
     2 MELANIE K. PIERSON                               CLERK, U.S. DISTRICT COURT
                                                     SOUTHERN DISTRICT OF CALIFORNIA
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    11 Email: Candina.Heath2@usdoj.gov

    12   Attorneys for United States of America

    13
                                        UNITED STATES DISTRICT COURT
    14
                                      SOUTHERN DISTRICT OF CALIFORNIA
    15
         UNITED STATES OF AMERICA,                        Case No. 18-CR-4683-GPC
    16
                           Plaintiff,
    17           v.                                       PLEA AGREEMENT
    18
         A~QAYYUM,
~~~9     MO~ f\~,i, Gl? I\:~ 1)tl L
                           Defendant.
@   20
                 IT   IS    HEREBY    AGREED    between    the   plaintiff,   UNITED      STATES       OF
    21
         AMERICA, through its counsel, Randy S. Grossman, United States Attorney,
    22
         and Assistant United States Attorneys Melanie K. Pierson and Sabrina L.
    23
         Feve,    and      Computer     Crime   and   Intellectual    Property   Section           Senior
    24
         Counsel      Candy Heath,
                               and %fendant ~ t f f i . i '11!17ffi:D QAYYUM, with the
    25                          ~@Y W\..¼-l  /IAo l-\1tMN£-D A-~PLtL
         advice and consent of Whitney Z. Bernstein, counsel for Defendant, as
    26
         follows:
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         II
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 1                                           I

 2                                        THE PLEA

 3         Defendant agrees to plead guilty to Count 2 of the Superseding

 4   Information charging Defendant with:

 5         knowingly and falsely represent himself to be the registrant
           and legitimate successor in interest to the registrant of 5
 6         or more Internet Protocol addresses,       and intentionally
           initiate the transmission of multiple commercial electronic
 7         mail messages    from  such addresses,    in  and affecting
           interstate commerce, on or about between December 2010 and
 8         September 2014, within the Southern District of California,
           in violation of 18 U.S.C. §1037 (a) (5) and (b) (3), and 18
 9         U.S.C. §2, a misdemeanor.
10         The Government agrees to (1) move to dismiss the remaining charges

11   in   the   underlying   Indictment    without   prejudice    when   Defendant   is

12   sentenced, and (2) not prosecute Defendant thereafter on such dismissed

13   charges unless Defendant breaches the plea agreement or the guilty plea

14   entered pursuant to this plea agreement is set aside for any reason.

15   The defendant agrees to waive the Statute of Limitations and any double

16    jeopardy rights and allow the filing of this Superseding Information.

17   If Defendant breaches this agreement or the guilty plea is set aside,

18   section XII below shall apply.

19         This plea agreement is part of a "package" disposition as set forth

20   in Section VI.E below

21                                           II

22                               NATURE OF THE OFFENSE

23         A.    ELEMENTS EXPLAINED

24         The offense of Electronic Mail Fraud,        in violation of Title 18,

25   United States Code, Section 1037 (a) (5), to which Defendant is pleading

2 6 guilty, has the following elements:

27

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 1               1. The defendant knowingly and falsely represented himself to

 2   be   the   registrant    or   the     legitimate       successor       in   interest    to    the

 3   registrant of 5 or more Internet Protocol addresses;

 4               2. The defendant intentionally initiated the transmission of

 5 multiple electronic mail messages from such addresses; and

 6               3.   The    electronic      mail       messages     were   transmitted      in    and

 7   affecting interstate commerce.

 8               The elements of Aiding and Abetting,                   pursuant to Title 18,

 9 United States Code, Section 2(a) are as follows:

10               1. Someone committed the offense of Electronic Mail Fraud, in

11                    violation       of   Title    18,     United     States      Code,    Section

12                    1037 (a) (5);

13               2. the     defendant      aided,       counseled,    commanded,        induced,    or

14                    procured that person with respect to at least one element

15                    of Electronic Mail Fraud;

16               3. the      defendant      acted       with   the     intent      to    facilitate

17                    Electronic Mail Fraud; and

18               4. the defendant acted before the crime was completed.

19         B.    ELEMENTS UNDERSTOOD AND ADMITTED - FACTUAL BASIS

20         Defendant has fully discussed the facts of this case with defense

21   counsel. Defendant has committed each element of the crime and admits

22   that there is a factual basis for this guilty plea. The following facts

23   are true and undisputed:

24               1.     At all relevant times, Defendant worked for a San Diego-

25   based internet marketing company called Frontline Direct, then Adconion

26   Direct and then Amobee (hereinafter referred to collectively as Company

27

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     Case 3:18-cr-04683-GPC Document 484 Filed 06/10/22 PageID.7243 Page 4 of 15




 1    A).   Defendant       was    hired   by    Company     A,     in    part,    to    handle   the

 2    connectivity of the Internet Protocol                (IP) addresses it used.

 3                 2.      During the period from December 2010 through September

 4    2014, Company A purchased 11 domain names associated with IP addresses

 5    from Daniel Dye of GetAds            (the "GetAds IPs")            and announced these IP

 6    addresses via Vincent Tarney of the Mata Group and others so that the

 7    GetAds IPs could be used by Company A to send multiple commercial email

 8    messages throughout the United States. The GetAds IPs included the IP

 9    addresses associated with the domain names ect.net                          (165.192.0.0/16),

10    Telalink.net         (207-234.0.0/17        and     207.152.0.0/18),          SierraSemi.com

11    (151.192. 0. 0/16),         openbusinesssystems. com           (168 .129. 0. 0/16),      Moore-

12    Solutions.com         (167.87.0.0/16),            TrinityMicro.com           (63. 79.40.0/21),

13    Paxny.com         (208.199.68.0/23),       Sura. net        (163. 253. 0. 0/16),     Cdnair. ca

14    (142.147.0.0/16),           Mediavis.com      (149.118.0.0/16)          and       Internex.net

15    (various).    The     domain names        associated with the          GetAds      IPs   allowed

16    Company A to control the IP addresses although,                      as the defendant was

17    aware, neither he,          Company A or GedAds were the actual registrants or

18    legitimate successors in interest for these IP addresses. The defendant

19    configured email accounts associated with the GetAds domain names in

20    the names of the points of contact for the true registrants, which were

21    then used and controlled by employees of Company A.

22                 3.      To announce some of the GetAds IP netblocks, Dye provided

23    Letters of Authorization ("LOAs"), which falsely attested that the true

24    registrant of the IP addresses had authorized use of the IP addresses.

25    The LOAs provided by Dye used the name of the point of contact, as well

26    as a fictitious letterhead ,of the IP address block's true registrant.

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 1   Dye provided electronic versions of LOAs created using word processing

 2   software, which enabled the recipient to edit or alter the LOAs.

 3              4.      These LOAs were provided by Company A employees to Tarney

 4   and other hosting companies to enable Company A to use the GetAds IPs

 5   to send bulk unsolicited commercial email to individuals throughout the

 6   United States.

 7              5.      As part of his employment at Company A,                  the defendant

 8   coordinated Company A's          connectivity and use of these              IP addresses,

 9   intending that the IP addresses transmit multiple commercial electronic

10   mail messages throughout the United States, knowing that Company A was

11   not the true registrant or a legitimate successor in interest.

12              6.      The   defendant     agrees         that   the     amount     of     loss

13   attributable his conduct is $9,700.

14                                              III

15                                         PENALTIES

16        The   crime    to   which    Defendant      is   pleading     guilty    carries    the

17   following penalties:

18        A.    a maximum 1 years in prison;

19        B.    a maximum $100,000 fine;

20        C.    a mandatory special assessment of $25 per count;

21        D.    a term of supervised release of one year. Failure to comply

22              with    any   condition    of    supervised       release    may    result     in

23              revocation     of     supervised      release,    requiring      Defendant     to

24              serve in prison, upon revocation, all or part of the statutory

25              maximum term of supervised release.

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 1                                          IV
                          DEFENDANT'S WAIVER OF TRIAL RIGHTS AND
 2                            UNDERSTANDING OF CONSEQUENCES
 3          This guilty plea waives Defendant's right at trial to:

 4          A.    Continue to plead not guilty and require the Government to

 5                prove the elements of the crime beyond a reasonable doubt;

 6          B.    A speedy and public trial by jury;

 7          c.    The assistance of counsel at all stages;

 8          D.    Confront and cross-examine adverse witnesses;

 9          E.    Testify and present evidence and to have witnesses testify on

10                behalf of Defendant; and,

11          F.    Not testify or have            any adverse inferences drawn         from the

12                failure to testify.

13    Defendant    has   been       advised by    counsel   and understands    that    because

14    defendant is not a citizen of the United States, defendant's conviction

15    in   this   case   may    have    adverse    immigration    consequences,     including

16    defendant's removal or deportation from the United States.                    Defendant

17    may also be denied United States citizenship and admission to the United

18    States in the future.

19                                                  V

20                 DEFENDANT ACKNOWLEDGES NO PRETRIAL RIGHT TO BE
           PROVIDED WITH IMPEACHMENT AND AFFIRMATIVE DEFENSE INFORMATION
21
            Any information establishing the factual innocence of Defendant
22
      known to the undersigned prosecutor in this case has been turned over
23
      to Defendant. The Government will continue to provide such information
24
      establishing the factual innocence of Defendant.
25
            If this case proceeded to trial, the Government would be required
26
      to provide impeachment information for its witnesses.                 In addition,    if
27
      Defendant    raised      an    affirmative    defense,     the   Government   would   be
28
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 1   required to provide information in its possession that supports such a

 2   defense.    By   pleading   guilty   Defendant   will   not   be   provided   this

 3   information, if any, and Defendant waives any right to this information.

 4   Defendant will not attempt to withdraw the guilty plea or to file a

 5   collateral attack based on the existence of this information.
                                       VI
 6
                        DEFENDANT'S REPRESENTATION THAT GUILTY
 7                          PLEA IS KNOWING AND VOLUNTARY
 8          Defendant represents that:

 9          A.   Defendant has had a full opportunity to discuss all the facts
                 and circumstances of this case with defense counsel and has
10               a clear understanding of the charges and the consequences of
                 this plea. By pleading guilty, Defendant may be giving up,
11               and rendered ineligible to receive, valuable government
                 benefits and civic rights, such as the right to vote, the
12               right to possess a firearm, the right to hold office, and the
                 right to serve on a jury. The conviction in this case may
13               subject   Defendant   to  various  collateral   consequences,
                 including but not limited to revocation of probation, parole,
14               or supervised release in another case; debarment from
                 government contracting; and suspension or revocation of a
15               professional license, none of which can serve as grounds to
                 withdraw Defendant's guilty plea.
16
            B.   No one has made any promises or offered any rewards in return
17               for this guilty plea, other than those contained in this
                 agreement or otherwise disclosed to the Court.
18
            C.   No one has threatened Defendant        or   Defendant's    family   to
19               induce this guilty plea.
20          D.   Defendant is pleading guilty because Defendant is guilty and
                 for no other reason.
21
          E. The disposition contemplated by this agreement is part of a
22           "package" disposition with codefendant ( s) Mark Manoogian, Jacob
             Bychak and Petr Pacas. If any defendant in the package fails to
23           perform or breaches any part of their agreement, no defendant can
             withdraw their guilty plea or withdraw from their agreement, but
24           the Government is relieved from and not bound by any terms in any
             agreements in the package.
25

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     II

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                                                      VII
       1
                            AGREEMENT LIMITED TO U.S. ATTORNEY'S OFFICE
       2                          SOUTHERN DISTRICT OF CALIFORNIA
       3          This plea agreement is limited to the United States Attorney's

       4    Office for the Southern District of California and cannot bind any other

       5    authorities in any type of matter,             although the Government will bring

       6    this plea agreement to the attention of other authorities if requested

       7    by Defendant.

       8                                              VIII

       9                         APPLICABILITY OF SENTENCING GUIDELINES

      10          The sentence imposed will be based on the factors set forth in 18

      11    U.S.C. § 3553(a). In imposing the sentence, the sentencing judge must

      12    consult the United States Sentencing Guidelines                (Guidelines)   and take

      13    them into account. Defendant has discussed the Guidelines with defense

      14    counsel   and understands       that   the Guidelines      are   only advisory,     not

      15    mandatory. The Court may impose a sentence more severe or less severe

      16    than otherwise applicable under the Guidelines,                up to the maximum in

      17    the statute of conviction. The sentence cannot be determined until a

      18    presentence report is prepared by the U.S. Probation Office and defense

      19    counsel and the Government have an opportunity to review and challenge

      20    the   pre sentence    report.   Nothing    in    this   plea   agreement   limits   the

      21    Government's duty to provide complete and accurate facts to the district

      22    court and the U.S. Probation Office.

      23                                               IX

      24                    SENTENCE IS WITHIN SOLE DISCRETION OF JUDGE

      25          This plea agreement is made pursuant to Federal Rule of Criminal

      26    Procedure 11 (c) (1) (B).   The sentence is within the sole discretion of

      27    the sentencing judge who may impose the maximum sentence provided by

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 1    statute.    It is uncertain at this time what Defendant's sentence will

 2    be. The Government has not made and will not make any representation

 3    about what sentence Defendant will receive. Any estimate of the probable

 4    sentence by defense counsel is not a promise and is not binding on the

 5    Court. Any recommendation by the Government at sentencing also is not

 6    binding on the Court.      If the sentencing judge does not follow any of

 7    the parties'     sentencing recommendations,      Defendant will not withdraw

 8    the plea.

 9                                              X

10                          PARTIES' SENTENCING RECOMMENDATIONS

11          A.    SENTENCING GUIDELINE CALCULATIONS

12          Although the Guidelines are only advisory and just one factor the

13    Court will consider under 18 U.S.C. § 3553(a)         in imposing a   sentence,

14    the defendant will recommend and the government will not contest the

15    following    Base     Offense   Level,    Specific   Offense   Characteristics,

16    Adjustments, and Departures for this defendant for this offense:
                1.   Base Offense Level [§ 2Bl.1]                  6
17              2.   Amount of Loss [§ 2Bl .1 (b) (1) (G)]         +2
                3.   Acceptance of Responsibility [§ 3El.l]       -2
18
            B.    ACCEPTANCE OF RESPONSIBILITY
19
            Despite paragraph A above,         the Government need not recommend an
20
      adjustment for Acceptance of Responsibility if Defendant engages             in
21
      conduct inconsistent with acceptance of responsibility including, but
22
      not limited to, the following:
23
                  1.      Fails to truthfully admit a complete factual basis as
24
                        stated in the plea at the time the plea is entered, or
25
                          falsely denies, or makes a statement inconsistent with,
26
                        the factual basis set forth in this agreement;
27
                  2.    Falsely denies prior criminal conduct or convictions;
28
                                                9
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 1                       3.      Is       untruthful      with    the       Government,      the    Court    or

 2                               probation officer; or

 3                       4.      Breaches this plea agreement in any way.

 4
              C.         FURTHER ADJUSTMENTS AND SENTENCE REDUCTIONS INCLUDING THOSE
 5                       UNDER 18 U.S.C. § 3553
 6            Defendant           may        request       or     recommend         additional       downward

 7    adjustments,            departures,          or variances from the Sentencing Guidelines

 8    under        18    U.S.C.       §    3553.    The   Government         will   oppose    any    downward

 9    adjustments,            departures,          or   variances     not     set   forth    in    Section   X,

1 O paragraph A above.

11            D.         NO AGREEMENT AS TO CRIMINAL HISTORY CATEGORY

12            The parties have no agreement as to Defendant's Criminal History

13    Category.

14            E.         "FACTUAL BASIS" AND "RELEVANT CONDUCT" INFORMATION

15            The facts in the "factual basis" paragraph of this agreement are

16    true and may be considered as "relevant conduct" under USSG § lBl.3 and

17    as     the        nature    and       circumstances        of   the     offense     under     18   U.S.C.

18    §    3553 (a) (1) .

19            F.         PARTIES' RECOMMENDATIONS REGARDING CUSTODY

20            The Government will recommend that Defendant be sentenced to the

21    low end of the advisory guideline range recommended by the Government

22    at sentencing.

23            G.         SPECIAL ASSESSMENT/FINE/RESTITUTION/FORFEITURE

24                       1.      Special Assessment

25            The parties will jointly recommend that Defendant pay a special

26    assessment in the amount of $25.00 per misdemeanor count of conviction

27    to be paid forthwith at time of sentencing. Special assessments shall

28
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 1   be paid through the office of the Clerk of the District Court by bank

 2   or cashier's check or money order made payable to the ~clerk, United

 3   States District Court."

 4                 2.      Fine

 5         The parties will jointly recommend that Defendant pay a fine in

 6   the amount of $100,000, which the Court shall order payable in monthly

 7   payments.

 8                 3.     Community Service

 9         The parties will jointly recommend that the defendant will perform

10   100   hours    of    community       service      during     any   period     of   probation   or

11   supervised release.

12         H.      SUPERVISED RELEASE/PROBATION

13         If the Court imposes a term of supervised release or probation,

14   Defendant will         not    seek    to   reduce      or    terminate    early the     term of

15   supervised release or probation until Defendant has served at least 2/3

16   of the term and has fully paid and satisfied any special assessments,

17   fine, and community service.

18                                                     XI

19                      DEFENDANT WAIVES APPEAL AND COLLATERAL ATTACK

20         Defendant        waives        (gives    up)     all    rights     to    appeal   and    to

21   collaterally attack every aspect of the conviction and sentence. This

22   waiver includes, but is not limited to, any argument that the statute

23   of conviction or Defendant's prosecution is unconstitutional and any

24   argument      that    the    facts    of   this      case    do   not   constitute    the   crime

25   charged. The only exceptions are 1) Defendant may appeal a custodial

26   sentence above the high end of the guideline range recommended by the

27   Government at sentencing (if USSG § 5Gl.l(b) applies, the high end of

28
                                                       11
                                                                              Def. Initials      __s__
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 1     the range will be the statutorily required mandatory minimum sentence),

 2     and 2) Defendant may collaterally attack the conviction or sentence on

 3     the basis that Defendant received ineffective assistance of counsel. If

 4     Defendant appeals, the Government may support on appeal the sentence or

 5     restitution order actually imposed.

 6                                         XII

 7                            BREACH OF THE PLEA AGREEMENT

 8          Defendant and Defendant's attorney know the terms of this agreement

 9    and shall raise,    before the sentencing hearing is complete,       any claim

10    that the Government has_ not complied with this agreement.          Otherwise,

11    such claims shall be deemed waived         (that is,   deliberately not raised

12    despite awareness that the claim could be raised), cannot later be made

13    to any court, and if later made to a court, shall constitute a breach

14    of this agreement.

15          Defendant breaches this agreement if Defendant violates or fails

16    to perform any obligation under this agreement. The following are non-

17    exhaustive examples of acts constituting a breach:

18                1.   Failing to plead guilty pursuant to this agreement;

19               2.    Failing to fully accept responsibility as established in

20                     Section X, paragraph B, above;

21               3.    Failing to appear in court;

22                4.   Attempting to withdraw the plea;

23                5.   Failing to abide by any court order related to this case;

24                6.   Appealing (which occurs if a notice of appeal is filed)

25                     or collaterally attacking the conviction or sentence in

26                     violation of Section XI of this plea agreement; or

27

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 1                7.    Engaging in additional criminal conduct from the time of

 2                      arrest until the time of sentencing.

 3           If Defendant breaches this plea agreement,                       Defendant will not be

 4   able to enforce any provisions, and the Government will be relieved of

 5   all   its   obligations         under    this    plea     agreement.           For    example,         the

 6   Government may proceed to sentencing but recommend a different sentence

 7   than what it agreed to recommend above.                      Or the Government may pursue

 8   any     charges   including       those    that       were        dismissed,     promised         to    be

 9   dismissed, or not filed as a result of this agreement (Defendant agrees

10   that any statute         of limitations          relating to          such charges          is    tolled

11   indefinitely as of the date all parties have signed this                                   agreement;

12   Defendant also waives any double jeopardy defense to such charges). In

13   addition, the Government may move to set aside Defendant's guilty plea.

14   Defendant may not withdraw the guilty plea based on the Government's

15   pursuit of remedies for Defendant's breach.

16           Additionally,        if Defendant breaches this plea agreement:                          (i)   any

17   statements made by Defendant,              under oath,            at the guilty plea hearing

18   (before either a Magistrate Judge or a District Judge);                          (ii) the factual

19   basis    statement      in    Section     II.B    in    this       agreement;        and    (iii)      any

20   evidence derived from such statements, are admissible against Defendant

21   in any prosecution of, or any action against, Defendant. This includes

22   the prosecution         of the    charge (s)      that       is    the   subject      of    this plea

23   agreement or any charge (s)             that the prosecution agreed to dismiss or

24   not file as part of this agreement,                    but later pursues because of a

25   breach      by    the        Defendant.     Additionally,                Defendant          knowingly,

26   voluntarily, and intelligently waives any argument that the statements

27   and any evidence         derived    from the          statements         should be         suppressed,

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 1    cannot be used by the Government, or are inadmissible under the United

 2    States Constitution,         any statute,      Rule    410 of the Federal Rules of

 3    Evidence,     Rule 11 ( f)   of the Federal Rules of Criminal Procedure,                 and

 4    any other federal rule.

 5                                             XIII

 6                         CONTENTS AND MODIFICATION OF AGREEMENT

 7          This    plea   agreement    embodies       the   entire   agreement    between     the

 8    parties     and   supersedes     any   other     agreement,     written     or   oral.   No

 9    modification of this plea agreement shall be effective unless in writing

10    signed by all parties.

11                                              XIV

12                  DEFENDANT AND COUNSEL FULLY UNDERSTAND AGREEMENT

13          By signing this agreement, Defendant certifies that Defendant has

14    read it     (or that it has been read to Defendant in Defendant's native

15    language) .    Defendant has discussed the             terms of this agreement with

16    defense counsel and fully understands its meaning and effect.

17    II
18    II
19    II
20    II
21    II
22    II
23    II
24    II
25    II
26    II
27    II
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  1                                                         xv
  2                          DEFENDANT SATISFIED WITH COUNSEL

  3        Defendant   has     consulted              with          counsel      and    is   satisfied   with

  4   counsel's representation. This is Defendant's independent opinion, and

  5   Defendant's counsel did not advise Defendant about what to say in this

  6   regard.

  7
      DATED: June 4, 2022               Respectfully submitted,
  8
                                            RANDY S. GROSSMAN
  9                                         United States Attorney
 10

 11                                         Melanie K. Pierson
                                            Assistant United States Attorney
 12
                                            ls/Sabrina L. Feve
 13                                         Assistant United States Attorney
 14                                         ls/Candy Heath
                                            Senior Counsel
 15                                         Computer Crime                 and       Intellectual   Property
                                            Section
 16

 17    06/07/2022
      DATED                                 WHITNEY Z. BERNSTEIN
 18                                         Defense Counsel

 19   IN ADDITION TO THE FOREGOING PROVISIONS TO WHICH I AGREE, I SWEAR UNDER
      PENALTY OF PERJURY THAT THE FACTS IN THE "FACTUAL BASIS" SECTION ABOVE
 20   ARE TRUE.

 21

 22

 23
      DATED'
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                                                                 aM1e~
                                                                 (_/_ r,

                                            ABDDl'i Jli.lOHIDvJEu QAYYUM
                                            Defendant
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